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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                     Case No. 1:99-CR-01-04
               Plaintiff,
                                                     HON. RICHARD ALAN ENSLEN
v.

CHARLES EDWARD BENNETT,

            Defendant.                               ORDER
______________________________/

       This matter is before the Court on Defendant Charles Edward Bennett’s § 2255 Motion to

Vacate, Set Aside, or Correct Sentence.

       On January 13, 1999, an Indictment was issued against Defendant and several other

individuals, charging them with conspiracy to distribute and possession with intent to distribute

cocaine, crack cocaine, and marijuana in violation of 21 U.S.C. §§ 846 and 841(a)(1). A jury trial

commenced on April 18, 2000. Defendant was found guilty on April 25, 2000, and was convicted

of Count One of a Third Superceding Indictment charging Conspiracy to Distribute and Possession

with Intent to Distribute Cocaine Base and Marijuana. Defendant appealed his sentence to the Sixth

Circuit Court of Appeals, which affirmed his conviction on July 21, 2003, and issued a mandate on

October 1, 2003. (Dkt. Nos. 475 & 479.) Defendant then sought a writ of certiorari from the United

States Supreme Court, which was denied on April 7, 2004. (Dkt. No. 492.) Defendant now makes

a timely motion for relief under 28 U.S.C. § 2255. Upon review, this Court finds that an evidentiary




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hearing is not necessary because the files and records of the case conclusively show that Defendant

is not entitled to relief. Baker v. United States, 781 F.2d 85, 92 (6th Cir. 1986).

       The Sixth Circuit’s decision in Watson v. United States, 165 F.3d 486 (6th Cir. 1999)

summarized the basic legal standards for relief under section 2255 as follows:

       To prevail on a § 2255 motion alleging constitutional error, the petitioner must
       establish an error of constitutional magnitude which had a substantial and injurious
       effect or influence on the proceedings. Brecht v. Abrahamson, 507 U.S. 619,
       637-638, 113 S. Ct. 1710, 1721-1722, 123 L.Ed.2d 353 (1993). To prevail on a §
       2255 motion alleging non-constitutional error, the petitioner must establish a
       “‘fundamental defect which inherently results in a complete miscarriage of justice,’
       or, an error so egregious that it amounts to a violation of due process.” United States
       v. Ferguson, 918 F.2d 627, 630 (6th Cir. 1990) (citing Hill v. United States, 368 U.S.
       424, 428, 82 S. Ct. 468, 471, 7 L.Ed.2d 417 (1962)).


Id. at 488. Furthermore, relief under section 2255 is not intended to do service for an appeal. United

States v. Timmreck, 441 U.S. 780, 784 (1979); see also Murr v. United States, 200 F.3d 895, 900

(6th Cir. 2000) (citing United States v. Frady, 456 U.S. 152, 164-67 (1982)).

       Defendant requests relief under the Supreme Court’s decision in Apprendi v. New Jersey, 530

U.S. 466 (2000), Blakely v. Washington, 124 S. Ct. 2531 (U.S. June 24, 2004), and its more recent

decision in Booker v. United States, 2005 WL 50108 (U.S. Jan. 12, 2005). Apprendi was decided

before Defendant was sentenced and was applied at the time of his sentencing. Defendant is seeking

retroactive application of Blakely and Booker to his case. Retroactivity is governed by the Supreme

Court’s decision in Teague v. Lane, 489 U.S. 288 (1989). Applying the Teague analysis in Goode

v. United States, 305 F.3d 378, 382 (6th Cir. 2002), the Sixth Circuit held that the rule in Apprendi,

the legal precedent which gave rise to the Blakely and Booker cases, would not be applied

retroactively, consistent with the determination of other circuit courts of appeal. Furthermore, in



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Humphress v. United States, 398 F.3d 855 (6th Cir. 2005), the Sixth Circuit held that Booker does

not apply retroactively on collateral review to cases “already final on direct review” at the time the

Supreme Court issued the Booker decision. Id. at 855, 860-63; see also McReynolds v. United

States, 397 F.3d 479 (7th Cir. Feb. 2, 2005) (holding that Booker does not apply retroactively to

criminal cases which were final prior to the release of the Booker decision on Jan. 12, 2005); Varela

v. United States, 400 F.3d 864 (11th Cir. Feb. 17, 2005) (holding that Booker is not retroactively

applicable to a case on collateral review). Since Defendant’s case was not pending at the time of the

Booker decision, he is not entitled to relief pursuant to 28 U.S.C. § 2255.

        For the above reasons, Defendant’s Motions will be denied. Having so determined,

pursuant to 28 U.S.C. § 2253, the Court must further determine whether to grant a certificate of

appealability as to each of the issues raised. The Court has reviewed the issues individually as

required by the decisions in Slack v. McDaniel, 529 U.S. 473 (2000) and Murphy v. Ohio, 263 F.3d

466, 466-67 (6th Cir. 2001). Upon review, this Court finds that reasonable jurists would not find

Defendant’s position debatable with respect to the substantive grounds for denying relief as to all

issues asserted. See Slack, 529 U.S. at 482-85; see also Porterfield v. Bell, 258 F.3d 484, 486 (6th

Cir. 2001). A certificate of appealability will be denied.

       THEREFORE, IT IS HEREBY ORDERED that Defendant Charles Edward Bennett’s §

2255 Motion to Vacate, Set Aside, or Correct Sentence (Dkt. No. 563) is DENIED.

       IT IS FURTHER ORDERED that a certificate of appealability is DENIED as to all issues

asserted pursuant to 28 U.S.C. § 2253.

                                                      /s/ Richard Alan Enslen
DATED in Kalamazoo, MI:                               RICHARD ALAN ENSLEN
    June 9, 2005                                      UNITED STATES DISTRICT JUDGE


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